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                             UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                               Case No.: 3:21-cv-00483-MMH-JRK
MICHAEL F. TUR, individually
and as Personal Representative of the Estate of
CHRISTOPHER TUR, deceased
ALINE M. BYRNES, individually
and as Personal Representative of the Estate of
CHRISTOPHER TUR, deceased
ANN MARIE TUR, individually
HENRY P. TUR, JR., individually

       Plaintiffs

               VS.

JOHN R. NETTLETON
LARA M. SABANOSH;
KELLY WIRFEL

       Defendants
                                  /
            NOTICE OF DISMISSAL OF ALL CLAIMS AGAINST
         DEFENDANT KELLY WIRFEL PURSUANT TO FRCP 41(a)(i)

       Plaintiffs hereby dismiss all claims against defendant Kelly Wirfel without

prejudice.1

Date: December 30, 2021               Respectfully submitted,
                                       /s/ AJ Fluehr
                                      Alfred Joseph Fluehr, Esquire
                                      FRANCIS ALEXANDER LLC
                                      280 N. Providence Road, Suite 1
                                      Media, PA 19063

1 In respect of, and with deference to, the Court’s December 6, 2021 (Doc. No. 57) Opinion,
Plaintiffs will be filing a non-contingent motion for leave to amend, with a proposed amended
complaint attached, early in the new year, that is consistent with the Court’s direction, and which
will also not name Ms. Wirfel.
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                           Attorney for Plaintiffs - Pro Hac Vice




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                               CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of Plaintiffs’ Notice of Dismissal on Defendant
Nettleton’s counsel via ECF and the Pro Se Defendants via email and First Class USPS:

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       PRO SE

                                               Respectfully submitted,

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                                               /d/ December 30, 2021




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